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The Honorable David J. Hale
United States District Judge for the Western District of Kentucky
601 W. Broadway
Louisville, KY 40202


Dear Honorable Judge David Hale,
My name is Laura Clay, and I have been close friends with Joshua White for 12 years. I have also been close
friends with Josh’s wife for 30 years, and as such have a uniquely deep understanding of Josh’s character.
With respect to his guilty plea, I write to express my own avid plea for the minimum possible sentence to be
extended to Josh. It is my wholehearted opinion—and well-documented fact—that Joshua’s friends, family,
community, and even strangers are positively impacted by his loyalty, dedication, and fervor on a consistent and
constant basis.
Josh is the most community-driven and philanthropic person that I have ever met, without exaggeration. His
career in the advancement of early Alzheimer’s diagnoses, as well as his voluntary spearheading of planting
thousands of native trees to enrich his beloved hometown and its environment, are only two of many exemplary
illustrations of his dedication to positively benefit others.
Every single day that I have ever seen Josh, I (like everyone else) am greeted with big, jovial energy and
dedicated attention to make us feel welcome, seen, and comfortable. He is always focused on making others feel
supported through any life-circumstance they may be navigating. Prior to purchasing my home, Josh performed a
walk-through and second-opinion inspection, simply out his caring nature. When I broke an ankle while working
solo on Thanksgiving Day, Josh dropped everything to drive to Lexington, get me to the ER, and ensured that I
was comfortably with a support system before he returned to his own family and holiday celebrations. On dozens
of occasions, I have called Josh out of the blue for advice from recipes, to rose pruning, to pet diet
recommendations, and am always met with kindness and information without hesitation.
Finally, I want to express just how encouraging, optimistic, and supportive Josh is. I am a career chef, and in
March of 2020, I was completely out of work. Josh homed in on my dreams that I’d always cast aside. He
encouraged and enlightened me to open my small business, pursuing my dreams; an endeavor that resulted in an
inimitable creation that ultimately thrived. If not for Josh, my life-long career aspirations never would have come
to fruition.
I am deeply grateful to The Court for extending time and consideration to my letter. I wish that I could have more
space to uplift Josh in his time of need as he has done for countless others. I pray that through our testimonies on
Joshua’s character, The Court is willing to submit the minimum recommended probationary period, so Josh and
his loved ones may resume their lives in full.
I am available at any time to verify the information in my letter as needed, and I once again thank The Court and
Honorable Judge Hale for your kindness and consideration.


Sincerely and Gratefully,
Laura A. Clay
Lexington, KY 405
